Case 1:20-cv-02658-CJN Document 15-30 Filed 09/23/20 Page 1 of 6




              EXHIBIT 24
9/22/2020              Case 1:20-cv-02658-CJN         Document
                                       Trump gives 'blessing'         15-30
                                                              to proposed        Filed
                                                                          TikTok deal with09/23/20       Page
                                                                                          Oracle - Business Insider2 of 6

                                                                     S&P                  NASDAQ
                                               DOW                   500                  100
                                                +0.52%               +1.05%               +1.72%



     HOME       POLITICS


     Trump says he's given his 'blessing' to a
     proposed TikTok deal with Oracle and Walmart
     Michelle Mark and Reuters Sep 19, 2020, 3:55 PM




     President Donald Trump speaks to the media on the South Lawn of the White
     House in Washington, before his departure on campaign travel to Fayetteville,
     North Carolina, U.S., September 19, 2020. Reuters/Yuri Gripas



         President Donald Trump said Saturday he had approved "in
         concept" a deal between Oracle and Walmart for TikTok's US
         operations.


         Trump said he believed the deal had addressed his national
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         security concerns.

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                                       Trump gives 'blessing'         15-30
                                                              to proposed        Filed
                                                                          TikTok deal with09/23/20       Page
                                                                                          Oracle - Business Insider3 of 6




         "I have given the deal my blessing," Trump told reporters. "If
         they get it done that's great, if they don't that's fine too."


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                                       Trump gives 'blessing'         15-30
                                                              to proposed        Filed
                                                                          TikTok deal with09/23/20       Page
                                                                                          Oracle - Business Insider4 of 6




  President Donald Trump said Saturday he "approves a deal in concept" that will
  allow TikTok to continue to operate in the United States under a deal with Oracle
  and Walmart.


  "I have given the deal my blessing," Trump told reporters at the White House. "If
  they get it done that's great, if they don't that's fine too."


  He added that he believed the deal had addressed US national security concerns.
  In August, Trump signed an executive order accusing the app of harming the
  country's national security and demanding it be sold to a US company or have its
  American operations shut down.


  Shortly after Trump's remarks on Saturday, Oracle a released a statement
  announcing it had taken a 12.5% stake in TikTok Global and become the app's
  secure cloud technology provider.




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9/22/2020              Case 1:20-cv-02658-CJN         Document
                                       Trump gives 'blessing'         15-30
                                                              to proposed        Filed
                                                                          TikTok deal with09/23/20       Page
                                                                                          Oracle - Business Insider5 of 6


  In a statement Saturday evening, TikTok confirmed the news and said it was also
  working with Walmart on a commercial partnership.


  "Both companies will take part in a TikTok Global pre-IPO financing round in
  which they can take up to a 20% cumulative stake in the company," the statement
  said. "We will also maintain and expand TikTok Global's headquarters in the US,
  while bringing 25,000 jobs across the country."


  About 100 million Americans use TikTok and US officials have expressed concern
  about user data and the potential for China to access that data.


  "The security will be 100%," Trump told reporters. "Conceptually it's a great deal
  for America."




  The new company, dubbed TikTok Global, will have a majority of American
  directors, a US chief executive and a security expert on the board.



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9/22/2020              Case 1:20-cv-02658-CJN         Document
                                       Trump gives 'blessing'         15-30
                                                              to proposed        Filed
                                                                          TikTok deal with09/23/20       Page
                                                                                          Oracle - Business Insider6 of 6


  Oracle has agreed to eventually own a 20% stake in the company, according to a
  source. If Walmart also successfully negotiates acquiring a stake, its CEO, Doug
  McMillon, would get a seat on TikTok Global's board, the source said.


  Trump said the new TikTok company will be "totally controlled by Oracle and
  Walmart."


  Read more:


  Trump reportedly pushed again for a cut of the TikTok deal in a call with Oracle
  chairman Larry Ellison and Walmart CEO Doug McMillon


  TikTok is racing to finalize a deal that could give Oracle and US investors a
  majority stake in the app. Here's what we know about the bid that could save
  TikTok from a US ban.


  Trump's TikTok ban could mean Americans have less freedom on the internet,
  just like in China, experts warn


  Trump's ban on TikTok is another move in the 'tug-of-war' between the US and
  China that may send the Oracle deal back to the drawing board, experts say




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